Case 1:23-cv-00643-MSN-JFA Document 37 Filed 12/01/23 Page 1 of 3 PageID# 249




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 FIRST BANK CHICAGO F/K/A FIRST                  )
 BANK OF HIGHLAND PARK,                          )
                                                 )
                        Plaintiff,               )
                                                 ) Case No. 1:23-CV-00643-MSN-JFA
 v.                                              )
                                                 ) Judge Michael S. Nachmanoff
 AMERICAN ELECTRIC POWER                         )
 SERVICE CORPORATION,                            ) Magistrate Judge John F. Anderson
                                                 )
                        Defendant.               )



             JOINT MOTION TO ENTER STIPULATED PROTECTIVE ORDER

       Plaintiff, First Bank Chicago (“Plaintiff”), and Defendant, American Electric Power

Service Corporation (“Defendant,” collectively the “Parties”), through their respective attorneys

of record, pursuant to Fed. R. Civ. P. 26(c), jointly move the Court for entry of the attached

Stipulated Protective Order and state as follow in support:

       1.      The Parties contemplate that discovery in this action may involve the production or

disclosure of confidential person, financial or business information, and/or competitive

information.

       2.      To ensure the protection of such information from public disclosure, the Parties

request entry of a Stipulated Protective Order in this case, a copy of which is attached hereto as

Exhibit 1.

       3.      As evidenced by the electronic signatures of counsel for the Parties on the proposed

Stipulated Protective Order, the Parties, by counsel, consent to jointly move to enter the attached

Stipulated Protective Order.
Case 1:23-cv-00643-MSN-JFA Document 37 Filed 12/01/23 Page 2 of 3 PageID# 250




       4.      Because the Parties have agreed to the entry of the proposed Stipulated Protective

Order, no hearing on this Joint Motion is necessary unless desired by the Court.

       5.      Good cause exists for the entry of the Stipulated Protective Order.

       WHEREFORE, Plaintiff, First Bank Chicago, and Defendant, American Electric Power

Service Corporation, by counsel, respectfully request that the Court grant their Joint Motion and

enter the attached Stipulated Protective Order.




Dated: December 1, 2023                              Respectfully submitted:

 /s/ Debbie Devassy Babu                            /s/ Michelle S. Kallen
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                                                    Power Service Corporation
Case 1:23-cv-00643-MSN-JFA Document 37 Filed 12/01/23 Page 3 of 3 PageID# 251




                                 CERTIFICATE OF SERVICE

I certify that on December 1, 2023, I have electronically filed Joint Motion to Enter Stipulated
Protective Order with the Clerk of Court using the ECF system which will send notification of such
filing to First Bank Chicago.



Dated this December 1, 2023.
                                                      /s/ Michelle S. Kallen

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